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                       Exhibit B
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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, JOHN DOE, and THOMAS
    BAKER,                                                     Civil Action No. 3:17-cv-00072-NKM
                                                                   JURY TRIAL DEMANDED
                                     Plaintiffs,
            v.
    JASON KESSLER, et al.,
                                     Defendants.



                       DECLARATION OF ALEXANDRA K. CONLON

            I, Alexandra K. Conlon, on this 12th day of October, 2021, pursuant to 28 U.S.C.

    § 1746, declare as follows: Kaplan Hecker & Fink LLP, one of the law firms representing

    the Plaintiffs in this action.

    1. I am a member in good standing of the New York Bar. I have been admitted to appear

        pro hac vice before this Court for and on behalf of the Plaintiffs in the above-captioned

        action.

    2. At approximately 3:40 pm on October 6, 2021, I received an email from Nathan

        Simpkins, case manager at USP Marion, informing me that Defendant Cantwell had

        departed USP Marion on October 5, 2021, in connection with his appearance at trial

        for the above-captioned matter, which is scheduled to begin on October 25, 2021. A

        true and correct copy is attached as Appendix A.

    3. On October 7, 2021, I spoke with a member of the U.S. Marshall Service, who informed

        me that Defendant Cantwell is being held at Grady County Jail in Oklahoma and was
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                                                                        2


       expected to remain there for at least a week.

    4. On October 9, 2021, I sent Defendant Cantwell a copy of Plaintiffs’ Amended Exhibit

       List at his address at Grady County Jail. A true and correct copy of the FedEx receipt

       is attached as Appendix B.



      Executed on: October 12, 2021                Respectfully submitted,
      New York, N.Y.

                                                   __________________________________
                                                   Alexandra K. Conlon
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                   Appendix A
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From:                 Nathan Simpkins <NSimpkins@bop.gov>
Sent:                 Wednesday, October 6, 2021 3:37 PM
To:                   Charlotte Karlsen
Cc:                   Alexandra Conlon; Michael Bloch
Subject:              RE: Sines v. Kessler



EXTERNAL SENDER
Hey there, He left yesterday on writ for this trial.

Sorry!

Nathan Simpkins, MSEd
Case Manager
USP Marion
4500 Prison Rd.
Marion, IL 62959
(618) 964 1441 ext.1360


>>> Charlotte Karlsen <ckarlsen@kaplanhecker.com> 10/6/2021 2:36 PM >>>
Hi Nate!

I hope your Wednesday is going well. We need to speak with Mr. Cantwell again on Monday, are you able to arrange a
call?

Thanks as always for your help!

Charlotte Karlsen | Kaplan Hecker & Fink LLP
Case Manager
350 Fifth Avenue | 63rd Floor
New York, New York 10118
(W) 212.763.0883 | (M) 646.588.8203
ckarlsen@kaplanhecker.com


From: Nathan Simpkins <NSimpkins@bop.gov>
Sent: Monday, October 4, 2021 7:58 AM
To: Charlotte Karlsen <ckarlsen@kaplanhecker.com>; Michael Bloch <mbloch@kaplanhecker.com>
Cc: Alexandra Conlon <aconlon@kaplanhecker.com>
Subject: Re: Sines v. Kessler


EXTERNAL SENDER

Thank you. I'll be there to answer the phone at 1030 central.

Nathan Simpkins, MSEd
Case Manager
USP Marion
4500 Prison Rd.
                                                                1
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                   Appendix B
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